              Case 2:98-cr-00034-LGW-JEG Document 509 Filed 03/06/08 Page 1 of 1


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              UNITED STATES OF AMERICA,                    CRIMINAL ACTION

              V.


              JAMES MITCHELL.                              NO. CR298-034



                                            ORDER
                   This Court, having read and considered Defendant James

              Mitchell's Motion to Obtain a Copy of Pre-sentence

              Investigation Report, and having further determined that

              said Motion is moot as a result of this Court previously

              signing an Order releasing Defendant James Mitchell from

              confinement, hereby DISMISSES Defendant's Motion.

                   SO ORDERED, this 5 day of March, 2008.




                                           JUDGE, UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF GEORGIA




AO 72A
(Rev. 8/82)
